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                                                          November 21, 2018

BY FEDERAL EXPRESS

The Honorable Richard G. Andrews
United States District Court for
The District of Delaware
844 North King Street
Unit 18- Room 4209
Wilmington, Delaware 19801

         Re:    Display Technologies, LLC v. Como Audio, LLC
                C.A. No. 1:18-CV-01390-RGA

Dear Sir or Madam:

       Please find enclosed for filing the Defendant Como Audio's Answer and Defenses to
Display Technology, LLC's First Amended Complaint.

         This pleading has been filed by Federal Express in accordance with D.Del.LR 83.5 (d)(e).

         Thank you for your anticipated cooperation.

                                                                    ectfully,

                                                                        vl)M~
                                                                    s Michael M e ~ /

cc:      Katarzyna Brozynski
         Spencer Fane LLP
         5800 Granite Parkway, Suite 800
         Plano, TX 75024

         Stephen B Brauerman,
         600 North King Street, Suite 400,
         Wilmington, DE 19801


Enclosure
